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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF GAUTAM
PALO ALTO, et al.,                    JAGANNATH (SJC) IN SUPPORT OF
              Plaintiffs,             PLAINTIFFS’ MOTION FOR A
                                      TEMPORARY RESTRAINING ORDER
     v.                               AND PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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              DECLARATION OF GAUTAM JAGANNATH, ESQ.
        EXECUTIVE DIRECTOR FOR SOCIAL JUSTICE COLLABORATIVE


I, Gautam Jagannath, Esq., make the following statements on behalf of SOCIAL JUSTICE
COLLABORATIVE. I certify under penalty of perjury that the following statement is true and
correct pursuant to 28 U.S.C. § 1746.
   1. My name is Gautam Jagannath, and I am the Executive Director at Social Justice
      Collaborative (“SJC”). We are based in Berkeley, California in the San Francisco Bay Area
      and have been provided full-scope deportation defense services for low-income noncitizens
      all over the nine Bay Area counties as well as the California central valley. SJC is one of
      the primary organizations dedicated to providing legal services to indigent unaccompanied
      immigrant children who are not in detention as well as those held in Office of Refugee
      Resettlement (“ORR”) custody throughout Northern and Central California.

   2. Our organization teams are composed of administration, executive staff, attorneys, legal
      assistants, social workers and other individuals who work together in units to represent
      clients, ensure that their needs are met and that we continually prevail in court. Because
      we are a legal services organization, we operate like a law office and our teams depend on
      having lawyers and legal assistants work on all aspects of the case, from intake to work-up
      and preparation for trial.

   3. In order to carry out this mission, SJC has several main work components, but relevant to
      the instant litigation, we represent unaccompanied minors who are not in ORR custody in
      immigration proceedings. We further host Immigrant Justice Corps (“IJC”) fellows to
      represent unaccompanied children in removal proceedings. Our programs at SJC are
      unique because we have always provided full-scope representation to vitally underserved
      minors as well as families, but we also provide access to wrap around services including
      social workers to help navigate challenges of newcomer life in the United States.

   4. SJC has been providing legal services for unaccompanied immigrant children in California
      since 2012. Since our inception, we have always taken cases for any indigent immigrant in
      California, we represent thousands of families a year. Our unaccompanied minor clients
      represent about a third of all we represent in immigration proceedings. Specifically, SJC
      serves a combined annual number of around over 400 unaccompanied children. Roughly
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   for at least the fiscal year 2024, our representative breakdown for these minors was 35%
   adjustment of status, 38% asylum proceedings, 25% special juvenile status. The residue
   balance is composed of U/T nonimmigrant relief, refugee petitions and other applications.
   Naturally, a lot of work authorizations are not included for all these children to get kids the
   benefits, both entitlements and means tested that they deserve in California.             That
   represents over 200 applications just in FY 2024.

5. With U.S. Department of Health and Human Services (“HHS”) funding, SJC currently has
   hired three (3) staff members, all of whom are IJC fellows, dedicated to providing legal
   services to unaccompanied immigrant children. Specifically, one is a California lawyer and
   two of the staff members are law graduates with pending bar admission results.

6. Staff providing representation to children regularly conduct client interviews, prepare
   clients for hearings, as well as provide legal education, individual consultations, and attend
   court hearings and other appointments for clients as well as their families. SJC represents
   children in all stage of removal proceedings in immigration court, BIA appeals, petitions
   for review at the Ninth Circuit, affirmative relief like asylum before USCIS, SIJS
   predicates in state court.

7. In recent months, we have had several referrals come from youth-serving professionals
   who are actively trying to find help for the children they work with. Even those who
   regularly refer to legal service providers are hitting roadblocks. Waitlists are closed. Pro
   bono and nonprofit providers are overwhelmed. Paying for legal services is out of reach
   for the vast majority of adult immigrants let alone children who need to be in school.

8. We routinely place cases for that have made their way through the immigration system to
   pro bono counsel at our firm partners through our legal clinics. These legal clinics are held
   frequently throughout the year and would be severely, albeit indirectly, affected by the loss
   of funding through this grant.

9. In 2023, SJC’s new Special Immigrant Juvenile (“SIJ”) Task Force completed its first full
   year. The task force was created in response to the growing demand for legal representation
   for minors. This was based on an increased number of intakes and referrals. However,



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   conversations with partners across various sectors made it clear this was not an isolated
   issue. It reflected broader, statewide, and national trends.

10. SJC is one of the few organizations who works in areas considered legal deserts in
   California. In some of these regions, we are one of the only organizations offering any legal
   services, including full-scope removal defense. We do not merely fill forms for clients and
   wish them luck. Even in more populated counties where other providers exist, the demand
   still far exceeds what’s available.

11. A partner recently shared that a very young immigrant child believed that carrying a red
   card—a know-your-rights resource widely distributed in immigrant communities—would
   prevent them from being detained if stopped. While red cards are an important tool for
   asserting one’s rights, this child was under the impression that the card functioned more
   like a legal shield. It’s easy to understand how a young person, without legal guidance,
   could draw that conclusion not knowing much more.


12. Stories like this make it painfully clear that general information, no matter how widely
   shared, is not a substitute for individualized legal support. Children need someone who
   can walk them through their options and answer their questions. That is where SJC often
   comes in. We have a team of legal professionals working up and prevailing on legal sta-
   tus, but we also are providing social workers to support our children.

13. We currently have clients who are not yet one year old. Even without considering trauma,
   language barriers, or lack of resources, there is no path forward for a child that young
   without help. But of course, we do have to consider those things. Many of our clients are
   indigenous and do not speak Spanish, a language many assume they would speak. These
   minors often face not only trauma and language access issues but also deep cultural barriers
   and a long-standing experience with systems that overlook or ignore them. This makes it
   extremely difficult—if not impossible—for children to find legal representation, let alone
   secure it in time to meet the deadlines in their cases.

14. Immigration Judges (“IJ’s”) have over the past decade and more have expressed gratitude
   to SJC staff attorneys for the efficiency our providers bring to their dockets, which are often

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   expedited, and caseload management. It is not uncommon for the EOIR based in San
   Francisco, Concord and Sacramento to make referrals of minors to SJC’s intake team.
   Many IJs appreciate our work product because we are known for bringing cases fully
   prepared for trial, well developed, and often fully documented. We have often been able
   to engage in stipulations with government counsel to avoid unnecessary continuances and
   appeals especially for minors.

15. Our organization repeatedly earns praise from the California State Bar, as we are an IOLTA
   funded legal service provider. We are also regularly praised by the California Department
   of Social Services who has continuously renewed contractual awards with SJC since 2015.
   We recently have been praised for maintained a shared vision centered on program
   assessment, we advance diversity and inclusion, we emphasize excellence, achieve goals,
   foster communication, engage staff at all levels, and ensure proper training and resource
   management. SJC exhibits a strong client-centered delivery system with programming
   aligned to our vision and funding requirements. We also demonstrate cultural competence
   through understanding of diverse community needs and histories, effectively engage with
   eligible populations, and establish appropriate partnerships with government and
   community organizations.

16. Without warning, on February 18, 2025, HHS (through the U.S. Department of the Interior)
   issued a national contract stop work order for Legal Services for Unaccompanied Children,
   effective immediately, which extended to all five Contract Line Numbers (CLINs). Without
   further elaboration on duration or reasoning, the stop work order stated that it “shall remain
   in place until you are notified otherwise” and “is being implemented due to causes outside
   of your control and should not be misconstrued as an indication for poor performance.”
   HHS then later rescinded the stop work order without explanation on February 21, 2025.


17. On March 21, 2025, also without warning, we learned that HHS (through the U.S.
   Department of the Interior) partially terminated the current contract with Acacia Center for
   Justice (to which our organization is a subcontractor) that funds legal services for
   unaccompanied children. This termination was effective the same day, March 21, 2025.
   HHS terminated the contract with respect to 3 of the 4 Contract Line Numbers


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   (CLINs): CLIN 2, Legal representation for unaccompanied children, as well as other non-
   representation services, such as referrals and data tracking; CLIN 3, which funds
   Immigrant Justice Corps fellows who represent unaccompanied children not covered under
   CLIN 2; and CLIN 4, Spanish language tutoring for organizational staff who work with
   children. For the time being, HHS has left in place only CLIN 1, which funds KYR
   presentations and confidential legal consultations for pro se children in ORR facilities. Per
   the partial termination, HHS ordered Acacia and all subcontractors to stop work
   immediately on CLINs 2, 3, and 4. HHS provided no justification for the partial termination
   other than “the Government’s convenience.”

18. We learned of the contract cancellation through an email from a statement put out by Jojo
   Annobil, the CEO of Immigrant Justice Corps.

19. The terminated funding accounts for roughly 8% of our organization’s total budget. SJC
   had been funded to represent roughly 45 unaccompanied minors per year under CLIN 2.
   The staff affected would be three IJC fellows. If we had to lose this funding and there was
   no new funding to be secured, we would be forced to lay off these fellows ASAP because
   we do not have operating budget to sustain their work. We have not yet secured any
   additional or new funding to secure these fellows.

20. The funding loss is a huge blow to our immigrant communities and morale of staff. We
   have been fortunate enough to survive almost a decade and a half without a single layoff
   and yet this could be our first.

21. For example, the SJC cases of Y, JS, and MHC represent particularly compelling scenarios
   for continued IJC funding support. All three individuals are currently not in active removal
   proceedings. Each presents strong affirmative relief claims requiring immediate legal
   intervention—specifically through asylum and SIJS pathways—demonstrating clear harm
   if representation were terminated. Financial barriers are insurmountable for all three cases:
   Y's family faces demonstrable poverty alone, JS as a dependent high school student has no
   income source, and MHC's family lacks financial means for private representation.
   Critically, none of these clients have any alleged gang affiliations or criminal history.
   Furthermore, each client has been released to documented sponsors with lawful
   immigration status—Y to a U.S. resident sponsor with a Social Security number, JS to a
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       sponsor with asylum-based residency, and MHC to a sponsor with SIJS-based residency—
       all people with valid legal status. Without sustained IJC funding, these vulnerable youth
       with strong relief eligibility would face the complex immigration processes without
       counsel, dramatically reducing their likelihood of securing protection despite qualifying
       under established legal criteria.

   22. In the face of these layoffs, we may be forced to try and refer out the clients such as the
       ones described above who were previously represented by our IJC fellows. However, we
       know that all organizations doing this work are overly burdened and many cannot take new
       cases. As noted above, all providers are overburdened. Thus, it is highly unclear whether
       we would be successful in referring out our affected clients.

   23. If we are unsuccessful in referring these clients to other organizations, then we believe
       under California law and relevant legal ethics that we would be forced to continue
       representation of clients without ORR funding. This would lead to further depletion of
       limited resources. This patently hurts staff morale, especially when our other staff are
       already working at and above their full capacity. Trying to competently represent affected
       clients without sufficient funding will likely lead to burn-out and result in other staff
       resigning or leaving for other jobs, thereby further harming our organization and the clients.




I declare under penalty of perjury under the Laws of the United States that the foregoing is true
and correct.
Executed on the 25th of March 2025, in Berkeley, California, United States.


                                                           _______________________________
                                                                      Gautam Jagannath, Esq.
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